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                                                                     USDC SDNY
                                                                     DOCUMENT
UNITED STATES DISTRICT COURT                                         ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                        DOC #:
                                                                     DATE FILED: 3/28/2025
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 KANCHAN CHANDRA,                                             :
                                                              :
                                              Plaintiff,      :
                                                              :       24-CV-3105 (VEC)
                            -against-                         :
                                                              :    MEDIATION REFERRAL
 NEW YORK UNIVERSITY, NEW YORK                                :          ORDER
 UNIVERSITY IN ABU DHABI                                      :
 CORPORATION, PAULA ENGLAND, in her :
 individual capacity, HERVÉ CRÈS, in his                      :
 individual capacity, and JEFFREY TIMMONS, in :
 his individual capacity,                                     :
                                                              :
                                            Defendants. :
 ------------------------------------------------------------ X

VALERIE CAPRONI, United States District Judge:

        WHEREAS on July 18, 2024, this employment discrimination case was automatically

referred to mediation after Defendants answered the Complaint, see Dkt. 29;

        WHEREAS mediation before Michael Grenert did not successfully resolve any issue in

this case, and on November 19, 2024, the Court entered a Civil Case Management Plan and

Scheduling Order that governs the parties’ discovery deadlines, see Dkts. 31, 39;

        WHEREAS the fact discovery deadline is May 22, 2025, the expert discovery deadline is

July 7, 2025, and the parties are scheduled to appear for a pretrial conference on May 23, 2025,

at 10:00 A.M., see Dkt. 39; and

        WHEREAS on March 27, 2025, Plaintiff filed a letter on consent of all parties requesting

that the court re-appoint Michael Grenert as mediator and hold the Case Management Plan in

abeyance while the parties engage in mediation, see Dkt. 40;
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       IT IS HEREBY ORDERED THAT this case is REFERRED for mediation to the Court-

annexed Mediation Program. The parties are hereby notified that Local Civil Rule 83.9 will

govern the mediation and are directed to participate in the mediation in good faith.

       The Court specifically requests that Mediator Michael Grenert, who has expertise in

employment discrimination matters and familiarity with the parties in this case, be assigned. The

Court further advises that mediation should begin no later than Monday, April 7, 2025.

       IT IS FURTHER ORDERED that the May 22, 2025 fact discovery deadline, the July 7,

2025 expert discovery deadline, and the pretrial conference scheduled for May 23, 2025, at 10:00

A.M. are ADJOURNED sine die. The parties are directed to notify the Court no later than one

week after the conclusion of all mediation whether they were able to settle this case. If the

parties do not settle, that notification to the Court should propose new dates for the completion of

fact discovery, expert discovery, and the next pretrial conference.

SO ORDERED.

                                                      _________________________________
Date: March 28, 2025                                        VALERIE CAPRONI
      New York, NY                                        United States District Judge




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